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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


In Re: RFC and ResCap Liquidating Trust                 Court File No. 13-cv-3451 (SRN/HB)
Litigation


This document relates to:
                                                                  ORDER
Residential Funding Company, LLC v.
Broadview Mortgage Corp., File No. 13-cv-
3463



       The Court having been advised that the above case has been settled,

       IT IS ORDERED that this action is hereby dismissed, without prejudice, the Court

reserving jurisdiction for sixty (60) days to permit any party to move to reopen the action,

for good cause shown, or to submit and file a stipulated form of final judgment.



DATED: June 23, 2016
                                          s/Susan Richard Nelson
                                          SUSAN RICHARD NELSON
                                          United States District Judge
